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 6                       IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
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 9   Pasqua Yaqui Tribe, et al.,                     No. CV-20-00266-TUC-RM
10                 Plaintiffs,                       ORDER
11   v.
12   United States Environmental Protection
     Agency, et al.,
13
                   Defendants.
14
15           On October 16, 2020, a telephonic Case Management Conference was held before
16   Judge Márquez’s law clerk, with Janette Brimmer and Stuart Gillespie for Plaintiffs and

17   Daniel Pinkston and Hubert Lee for Defendants in attendance. Prior to the Conference,
18   the parties prepared a Joint Case Management Report pursuant to Rule 26(f) of the

19   Federal Rules of Civil Procedure. Pursuant to Fed. R. Civ. P. 26(a)(1)(B)(i), this case is

20   exempt from initial-disclosure requirements.
21           On the basis of the Case Management Conference and the Joint Case Management
22   Report, and pursuant to Rule 16(b) of the Federal Rules of Civil Procedure,

23           IT IS HEREBY ORDERED:

24              1. Administrative Record. Defendants shall submit certified indices for the

25                 2019 and 2020 Rule administrative record on or before November 16,

26                 2020. Motions to challenge or supplement the administrative record are
27                 due on or before January 15, 2021.
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 1           2. Cross-Motions for Summary Judgment.
 2                 a. Plaintiffs shall file a motion for summary judgment on all claims
 3                    within 30 days after the Court’s resolution of administrative record
 4                    challenges or, if no such challenges are filed, on or before March
 5                    12, 2021. Plaintiffs’ motion for summary judgment shall be limited
 6                    to 14,000 words, as computed by F.R.A.P. 32(f).
 7                 b. Defendants shall file a response/cross-motion for summary judgment
 8                    within the later of 60 days after Plaintiffs file their motion or May
 9                    14, 2021. Defendants’ response/cross-motion shall be limited to
10                    14,000 words, as computed by F.R.A.P. 32(f).
11                 c. Plaintiffs shall file a reply/response to cross-motion within the later
12                    of 45 days after Defendants file their response/cross-motion or July
13                    2, 2021. Plaintiffs’ reply/response to cross-motion shall be limited
14                    to 14,000 words, as computed by F.R.A.P. 32(f).
15                 d. Defendants shall file a reply in support of their cross-motion for
16                    summary judgment within the later of 30 days after Plaintiffs file
17                    their reply/response to cross-motion or August 6, 2021. Defendants’
18                    reply shall be limited to 7,000 words, as computed by F.R.A.P.
19                    32(f).
20                 e. Except as provided above, all motions, memoranda, and pleadings
21                    submitted for the Court’s review and decision must comply in all
22                    respects with the Federal Rules of Civil Procedure and the Local
23                    Rules. The parties are advised to pay particular attention to LRCiv.
24                    7.2 and 56.1.
25                 f. Any filing which is submitted with more than one exhibit must be
26                    accompanied by a Table of Contents and indexed with tabs
27                    corresponding to the Table of Contents.
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 1                g. Regarding courtesy copies of documents for chambers, the parties
 2                   are directed to review the Court’s Electronic Case Filing
 3                   Administrative Policies and Procedures Manual, available online at
 4                   http://www.azd.uscourts.gov/sites/default/files/documents/adm%
 5                   20manual.pdf. Pursuant to Section II(D) of that Manual, courtesy
 6                   copies should be printed directly from CM/ECF.
 7         3. Good Faith Settlement Negotiations. The parties are encouraged to discuss
 8            settlement at all times during the pendency of this litigation. The Court will
 9            set a settlement conference before a Magistrate Judge upon request of the
10            parties. Counsel shall file a brief Joint Settlement Status Report (containing
11            no specific settlement terms or offers) on or before September 23, 2021,
12            and every 90 days thereafter. The parties shall promptly notify the Court if
13            settlement is reached during the course of this litigation.
14         4. Sanctions for Failure to Meet Deadlines. The parties and their counsel are
15            cautioned that the deadlines set in this Scheduling Order shall be strictly
16            enforced and may be modified only for good cause and with leave of Court.
17            The parties are warned that failure to meet any of the deadlines in this
18            Order or in the Federal or Local Rules without substantial justification may
19            result in sanctions, including dismissal of the action or entry of default.
20            Motions for extensions of any of the deadlines set forth above must be filed
21            prior to the expiration of the deadline(s) that the movant seeks to extend.
22      Dated this 28th day of October, 2020.
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